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                                    PRESS RELEASE
                               Jefferson County Sheriff's Office
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                                        November 9, 2015

   Sheriff Oliver "Glenn" Boyer advises that on Monday November 9, 2015 at
   approximately 7:55p.m. Deputies with the Jefferson County Sheriff's Office were
   dispatched to the 1600 block of Sparrow Point, Fenton, for a reported disturbance. A
   female called the dispatch center and advised her son was out of control attempting to
   strike her and is suicidal, the phone disconnected.

   Upon the Deputies arrival the subject was located at the residence in possession of a
   knife Deputies made contact with the subject and were able to get the subject to
   voluntarily surrender the knife. Further investigation and communication with the family
   and the subject on scene determined that he was homicidal and suicidal.

   While Deputies were attempting to take the subject into custody to be transported to an
   area hospital for mental evaluation a physical struggle ensued. During the struggle the
   subject was able to gain partial control of a Deputies weapon resulting in the weapon
   discharging. An assisting Deputy returned fire striking the subject. The subject was
   transported by helicopter to an area hospital for treatment. The subject is listed in critical
   condition. The subject is a 23 year old male of the residence.

   Investigation is ongoing updates will be released as the information becomes available.




                                  Exhibit 6                                                         JCSD000194
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